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  UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §           CASE NO. 1:11-CR-21-2
                                                   §
 KIMBERLY REID GORE                                §

            MEMORANDUM ORDER ADOPTING THE MAGISTRATE JUDGE'S
                     REPORT AND RECOMMENDATION

          The court referred a petition alleging violations of supervised release conditions to the

 Honorable Zack Hawthorn, United States Magistrate Judge, at Beaumont, Texas, for consideration

 pursuant to applicable laws and orders of this court. The Court has received and considered the

 Report of the United States Magistrate Judge filed pursuant to such order, along with the record,

 pleadings and all available evidence.

          At the close of the revocation hearing, the Defendant, defense counsel and counsel for the

 Government, each signed a standard form waiving their right to object to the proposed findings

 and recommendations contained in the magistrate judge’s report, consenting to revocation of

 supervised release and imposition of the sentence recommended. The Defendant also waived her

 right to be present with counsel and to speak at sentencing.

          Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct

 and the report of the magistrate judge is ADOPTED. It is therefore

          ORDERED and ADJUDGED that the petition is GRANTED and the Defendant’s
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 supervised release is REVOKED. Judgment and commitment will be entered separately, in

 accordance .with the magistrate judge’s recommendations.
           SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 23rd day of June, 2014.




                                         ________________________________________
                                                     MARCIA A. CRONE
                                              UNITED STATES DISTRICT JUDGE
